      Case 2:17-cr-00225-SM-JCW Document 64 Filed 06/08/18 Page 1 of 1


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                        CRIMINAL ACTION
 VERSUS                                                          NO: 17-225
 RONALD THOMPSON, JR.                                            SECTION: “E”


                                RE-NOTICE OF SENTENCING

         PHOTO IDENTIFICATION REQUIRED TO ENTER THE BUILDING

Take Notice that this criminal case has been reset for sentencing on July 11, 2018 at 10:00 a.m.,
before Judge Susie Morgan, 500 Poydras St., New Orleans, LA.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION
AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date: June 8, 2018                               WILLIAM W. BLEVINS, CLERK

                                                 by: Brad Newell, Deputy Clerk

TO:

Ronald Thompson, Jr. (CUSTODY)                   AUSA: James S. Baehr

COUNSEL FOR RONALD THOMPSON,                     U.S. Marshal
JR.:
James S. Holt, Retained                          U.S. Probation & Pre-Trial Services Unit

                                                 TFO Special Agent David Ehrmann, DEA


                                                 If you change address,
                                                 notify clerk of court
                                                 by phone, 504-589-7714
